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REPORT OF INVESTIGATION                                                                           INV #: 2012204455
Title: AL ZUNI                                                                                    Report #: 009

DETAILS OF INVESTIGATION

STERLING ISLANDS (STERLING) Trash Cover

On January 28, 2014, at approximately 0500 hours, U.S. Fish and Wildlife Service/Office of
Law Enforcement (USFWS/OLE) Special Agent (SA) Russell Stanford performed a trash cover
at STERLING. Among the items recovered from the dumpster, located in the rear of the
building, are the following (See attachment #1, copies of recovered documents):

      x One (1) FASHION ACCESSORIES 4 U COPORATION (FA4U) financial statement for
        December of 2013. Details listed in the statement include:
             o A "currency transfer from $ acct. - $15,000 ... (12/02/13)”
             o A "currency transfer from $ acct. - $40,000 ... (12/06/13)”
             o A "currency transfer from $ acct. - $60,000 ... (12/09/13)”
             o A "currency transfer from $ acct. - $32,000 ... (12/17/13)”
             o An "incoming wire from STERLING ISLAND 12-02-13 (Inv # 371) $37,453.40"
             o An "incoming wire from STERLING ISLAND 12-04-13 (Inv # 372-373)
                $66,181.00"
             o An "incoming wire from STERLING ISLAND 12-10-13 (Inv # 374-375)
                $82,131.40"
      x One (1) FA4U financial statement for 2013. The statement is organized by month with
        corresponding expenditures.
      x One (1) document listing invoice numbers, invoice dates, and corresponding weights.
      x One (1) invoice from STERLING to Sundancer Jewelry.
      x One (1) business card for Nader KHALAF. The business card reads, "A Division of
        Sterling Islands Inc., Turquoise Outlet." The card lists KHALAF as General Manager
        with an email of info@sterlingislands.com and a web address of
        www.TurquoiseOutlet.com. Additionally, the physical address listed is the same as
        STERLING.
     x One (1) January 20, 2014, email from Turquoise Outlet to Charles Cordero at
        finetreasure@finetreasure.net. The email states that a shipment has been scheduled.
     x One (1) partial envelope addressed to STERLING from:
                R. Bruce Hoffman
                P.A., Certified Public Accountant
                925-A Mt. Hermon Road
                Salisbury, MD 21804
                (410) 546-0555



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                                                                  Exhibit E
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REPORT OF INVESTIGATION                                                                           INV #: 2012204455
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JOGS Show Purchase of Evidence

On February 7, 2014, SA Stanford attended the JOGS Gem and Mineral Show in Tucson,
Arizona. AL ZUNI GLOBAL JEWELRY (AL ZUNI) was one of the businesses listed as an
exhibitor at the show. SA Stanford visited the booth where AL ZUNI was located and observed
several cases and racks of Native American style jewelry and what SA Stanford recognized as
jewelry consistent with that which has been imported by STERLING. SA Stanford walked
around the booth for several minutes looking at various pieces of jewelry. SA Stanford obtained
the following information while inside the AL ZUNI booth from Baker LNU:

     x    Baker LNU (a salesperson at the booth) told SA Stanford that some of the jewelry in the
          booth was native made and some was non-native made. The non-native made jewelry is
          made in the Philippines. Baker LNU told SA Stanford that he could identify the imported
          jewelry because they all had cards attached to the boxes in which the jewelry was
          contained.

SA Stanford purchased one (1) pendant with the initials, "A.A," and one (1) ring with the initials,
"C.K." (Agent's Note: SA Stanford purchased these items as he recognized them as STERLING
imports and they did not have cards attached to the boxes where they were found.) (See
attachment #2, copies of photographs)

When SA Stanford purchased the items he asked Baker LNU for the identity of the artist who
made the items. Baker LNU told SA Stanford that the items were imported.
(Agent's Note: SA Stanford also noted that AL ZUNI was selling various pieces of jewelry
attributed to Effie Calavaza. This is documented under INV #2014200639.)

STERLING Trash Cover

On February 25, 2014, at approximately 0500 hours, SA Stanford performed a trash cover at
STERLING. Among the items recovered from the dumpster, located in the rear of the building,
are the following (See attachment # 3, copies of recovered documents):

     x    One (1) confidentiality agreement, dated February 12,2014, between Nader KHALAF
          and Alberto Zambelli. The document had been signed by KHALAF, but had not been
          signed by Zambelli. The document describes an agreement in which:
              o KHALAF will not disclose Zambelli’s name.
              o Zambelli agrees that all designs sold to KHALAF are of ZAMBELLI's
                 Creation.
              o All designs sold to KHALAF by Zambelli will be the property of KHALAF.

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REPORT OF INVESTIGATION                                                                           INV #: 2012204455
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             o Zambelli agrees to keep all designs and instructions KHALAF shares with
                 Zambelli in strict confidence.
     x    One (1) cardboard box, which had been wrapped in silver tape. The box was from FA4U
          and addressed to:
                 Sheda KHALAF
                 STERLING ISLANDS
                 7107 Greenmont Court NE
                 Albuquerque, NM 87109
                 Tel #: 1-505-369-8810

GALLERY 8 Purchase of Evidence

(Agent's Note: This purchase of evidence was recorded on both video and audio by SA
Stanford. SA Stanford was wearing a ring that had been covertly marked and subsequently
purchased from GALLERY 8, on November 26, 2012. See R005 for documentation.)

On February 26, 2014, SA Stanford and USFWS SA Tamara Kurey visited GALLERY 8 and
GALLERIA AZUL in a covert manner. The following information was obtained during the
visit:

     x    Christina LNU was working at GALLERY 8.
     x    SA Stanford referenced a previous visit in which SA Stanford said he would be making a
          larger purchase for his family's jewelry business. Christina LNU remembered and told
          SA Stanford and SA Kurey to pick out the items they were interested in and then she
          would call Nael ALI and, "take care of it."
     x    SA Stanford observed jewelry offered for sale in the store that was consistent with that
          which has been imported by STERLING in the past.
     x    SA Stanford showed Christina LNU a ring that he was wearing and asked if they had any
          more in stock. Christina LNU said that she only had a similar type in stock, but not the
          same one. SA Stanford asked if GALLERY 8 could contact the artist to get more
          produced. Christina LNU said they could contact the artist and see if that would be
          possible.
     x    Christina LNU told the SAs that all of the jewelry in the store was Navajo with the
          exception of three (3) pieces which Christina LNU said were Zuni made.
     x    Christina LNU contacted Tessa LNU at GALLERIA AZUL via video phone to have her
          check the store for a particular style of ring. (Agent's Note: GALLERIA AZUL is
          located within a short walk of GALLERY 8.)
     x    SA Stanford asked about other "Calvin Kee" rings that they had in the store. Christina
          LNU told SA Stanford that they did have some other "Calvin" rings.

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     x    Christina LNU said GALLERY 8 had been in business for eleven (11) years and
          GALLERIA AZUL has been in business for three (3) years.
     x    Christina LNU showed SA Kurey a ring. SA Kurey asked if the ring was made by
          Calvin. Christina LNU looked at the hallmark on the ring and told SA Kurey it was,
          "Yazzie."
     x    Tessa LNU entered GALLERY 8 and Christina LNU asked Tessa LNU to pull all of the
          "Calvin Kee" jewelry.
     x    Christina LNU said she would call ALI to determine final pricing on the jewelry.
     x    Christina LNU said she would take pictures of the items purchased by SA Stanford to
          attach to their business email for future reference.
     x    Christina LNU said she would have ALI get a hold of "Calvin Kee" to see about getting
          more jewelry. Christina LNU said that Calvin Kee is supposed to only supply
          GALLERY 8.
     x    Christina LNU showed the SAs a butterfly ring which was also made by "Calvin Kee."
     x    Christina LNU told the SAs about some of the other artists that they carry including,
          "Leonard Yazzie" and "Robin Yazzie."
     x    SA Stanford and SA Kurey walked over to GALLERIA AZUL and met with Tessa LNU.
          While in the store, SA Stanford observed an alarm system and computer. In addition, SA
          Stanford observed jewelry, pottery, and paintings for sale. The jewelry was consistent
          with that which is imported by STERLING.
     x    Tessa LNU told the SAs that all of the jewelry was Navajo.
     x    SA Kurey asked for a list of artists and the corresponding initials. Tessa LNU told the
          SAs that she had a list and could make a copy. Additionally, Tessa LNU made the
          following statements regarding artists' names and initials:
              o "Sometimes I forget and make stuff up. I know that's bad."
              o "We make it up. I'm not gonna lie ... You guys are in the business, you have to
                  understand." (Agent's Note: This statement was made in response to SA Kurey's
                  question about what they do when artists have the same initials.)
              o "It is all handmade ... I'm not lying about that..."
              o "It's all locally made."
     x    SA Kurey and SA Stanford returned to GALLERY 8.
     x    Tessa LNU came over to GALLERY 8 and gave SA Stanford the list of artists (See
          attachment # 4, copy of artist list).
     x    Christina LNU told the SAs that they have a third shop, called GALLERIA AZUL, in
          Scottsdale, Arizona. The shop is located at 5th and Main.
     x    Christina LNU told the SAs that she spoke to ALI and she would take a photograph of
          the "Calvin Kee" ring and get more made.
     x    Christina LNU called Nael ALI using the wireless telephone in the store. After getting


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          off the telephone, Christina LNU told the SAs that ALI said they would get the other
          rings and he would get a in touch with the artist, "Calvin Kee."
     x    SA Kurey asked for a key to the symbols on some of the rings.
     x    Christina LNU told the SAs that the feather symbol is for the Yazzie family.
     x    Christina LNU told the SAs that there are two (2) different Begays. Calvin Begay is a
          very well-known artist and his cousins also make jewelry. The cousins use the raincloud
          symbol. Christina LNU went on to say that they just say Begay because Calvin Begay is
          known all over the world.
     x    Christina LNU said "A.A." corresponds to Juan Armas.
     x    Christina LNU said the Yucca symbol corresponds to Ardale.
     x    Christina LNU said "O.Y." corresponds to Olivia Yazzie.
     x    SA Stanford wrote the information regarding the artists’ initials/symbols on the back of
          the list of artists given to SA Stanford by Tessa LNU.
     x    SA Stanford observed Christina LNU using a computer in the back room of the store.
          Christina LNU said she was using it to pull up the artists’ names.
     x    Christina LNU could not find all of the names corresponding to the initials on the rings so
          she said she might be able to get ALI's password and go over to ALI's computer and get
          more of the names that way. (Agent's Note: SA Stanford took this to mean that ALI's
          computer was located in the other store, GALLERIA AZUL.)
     x    Christina LNU said "Calvin Kee" was born in 1964.
     x    Christina LNU took photographs of the ring, using her cell phone, that SA Stanford
          brought in with him.
     x    SA Stanford ordered ten (10) copies of the ring that Christina LNU photographed and ten
          (10) additional "Calvin Kee" rings. Christina LNU wrote the order down in a book.
     x    Christina LNU told the SAs that they use FedEx to ship jewelry and asked for the address
          to ship them too. Christina LNU asked for the business name as the accountant would
          ask for it. Christina LNU told the SAs that they would pay for the order when it was
          delivered to the store.
     x    SA Kurey gave Christina LNU $1200 in cash towards the total amount owed of
          $1116 for the purchase of the following items (See attachment #5, copies of
          photographs):

                o    Five (5) rings with "C.K." initials.
                o    One (1) ring with a Yucca symbol.
                o    One (1) ring with "N.B." initials.
                o    One (1) ring with "O.Y." initials.
                o    Three (3) rings with raincloud symbols.
                o    One (1) ring with a feather symbol.


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     x    Christina LNU said she did not have the exact change so she gave SA Kurey $85 in
          change.
     x    Christina LNU said that it would take at least three (3) weeks for the rings from "Calvin
          Kee."

DESCRIPTION OF SUBJECTS

The following new subjects have been identified:

LNU, Baker
D.B.A. AL ZUNI

LNU, Christina

LNU, Tessa

The following subjects have been previously identified:

AL ZUNI – see R001

ALI, Nael – see R005
D.B.A. GALLERY 8 / GALLERIZ AZUL

FASHION ACCESSORIES 4 U CORP – see R002

KALIFANO INC. – See R001

KHALAF, Jawad – see R002

KHALAF, Nader – see R001

KHALAF, Sheda – see R001

STERLING ISLANDS / NATIONAL JEWELRY BUYERS – see R002

PRIOR VIOLATIONS

None to document as not enough information has been obtained regarding the new subjects.

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WITNESSES

Special Agent Russell Stanford
U.S. Fish and Wildlife Service
Office of Law Enforcement
4901 Paseo del Norte NE, Suite D
Albuquerque, NM 87113


Special Agent Tamara Kurey
U.S. Fish and Wildlife Service
Office of Law Enforcement
57 Paseo de Yucatan
Rio Rico, AZ 85648


LAWS VIOLATED

On February 26, 2014, within the District of New Mexico, GALLERY 8 did display for sale and
sell products, in a manner that falsely suggests they were Indian produced, in violation of the
regulations of the United States, specifically 18 USC 1159 (a).

EVIDENCE

All evidence listed below is being held at the OLE in Albuquerque, New Mexico:

1.        Documents recovered from trash run, assigned Seizure Tag 886768.
2.        Two (2) rings, assigned Seizure Tag 763425.
3.        Documents recovered from trash run, assigned Seizure Tag 730232.
4.        Twelve (12) rings and one (1) document, assigned Seizure Tag 886946.

Audio Recordings/Video Recordings/Photographs Created by Law Enforcement:

Audio Recording

1.        MP3 digital recording file titled, “140226_002.mp3,” stored at the USFW/OLE in
          Albuquerque, New Mexico.




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Video Recording

1.        MP3 digital recording file titled, “140226_002.mp3,” stored at the USFWS/OLE in
          Albuquerque, New Mexico.

Photographs

The photographs listed below are stored at the USFWS/OLE in Albuquerque, New Mexico:

1.        One (1) jpeg file titled, “20140724_091713.jpg”
2.        One (1) jpeg file titled, “20140724_091724.jpg”
3.        One (1) jpeg file titled, “20140724_091628.jpg”
4.        One (1) jpeg file titled, “20140724_091601.jpg”
5.        One (1) jpeg file titled, “20140724_091525.jpg”
6.        One (1) jpeg file titled, “20140724_091324.jpg”

Evidence Maintained by Another Agency:

None documented at this time.

ATTACHMENTS

1.        Copies of recovered documents (15 pages).
2.        Copies of photographs (2 pages).
3.        Copies of recovered documents (1 page).
4.        Copy of artist list (2 pages).
5.        Copies of photographs (4 pages).




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